 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF TENNESSEE
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 ULTIMA SERVICES CORPORATION,                                                     :
                                                                                  :
          Plaintiff,                                                              :
                                                                                  :
                            -against-                                             :
                                                                                  :
                                                                                  : No.2:20-cv-00041
                                                                                  : DCLC-CRW
 U.S. DEPARTMENT OF AGRICULTURE,                                                  :
 U.S. SMALL BUSINESS ADMINISTRATION,                                              :
 SECRETARY OF AGRICULTURE, and                                                    :
 ADMINISTRATOR OF THE SMALL BUSINESS                                              :
 ADMINISTRATION,                                                                  :
                                                                                  :
          Defendants.                                                             :
                                                                                  :
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                         STATEMENT OF MICHAEL ROSMAN


 Michael Rosman hereby states:


         1.      Attached hereto as Exhibit 1 is a true and correct copy of Dr.

 Jonathan Guryan’s Report.

         2.      Attached hereto as Exhibit 2 is a true and correct copy of

 relevant portions of Dr. Jon Wainright’s deposition transcript.

         3.      Attached hereto as Exhibit 3 is a true and correct copy of

 relevant portions of Mr. Daniel Chow’s deposition transcript.

         4.      Attached hereto as Exhibit 4 is a true and correct copy of

 relevant portions of Dr. Jonathan Guryan’s deposition transcript.




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 I state under penalty of perjury that the foregoing is true and correct.

 Executed on July 5, 2022

 /s/ Michael E. Rosman
 Michael E. Rosman




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